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Exhibit 53

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Document: 3:21md2981, In Re: Google Play Store Antitrust Litigation

3:21md2981, In Re: Google Play Store Antitrust Litigation

US District Court Docket
United States District Court, California Northern

(San Francisco)

This case was retrieved on 03/24/2023

wv Header

Case Number: 3:21md2981 Class Code: Open
Date Filed: 02/05/2021 Statute: 15:1
Assigned To: Judge James Donato Jury Demand: Plaintiff
Nature of Suit: Antitrust (410) Demand Amount: $0

Cause: Antitrust Litigation
Lead Docket: None

Other Docket: None
Jurisdiction: Federal Question

NOS Description: Antitrust

v Participants

Litigants Attorneys

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Date

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02/10/2023

02/13/2023

02/15/2023

02/15/2023

Proceeding Text

James Donato on 2/7/2023. (jd c2, COURT STAFF) (Fi ed
on 2/7/2023) (Entered: 02/07/2023)

Statement Defendant Goog es Supp ementa Statement re

February 1, 2023 Minute Order by A phabet Inc., Goog e
Asia Pacific PTE. Limited, Goog e Commerce Limited,

Goog e Ire and Limited, Goog e LLC, Goog e Payment Corp..

(Pomerantz, G enn) (Fi ed on 2/7/2023) (Entered:
02/07/2023)

NOTICE by Epic Games, Inc. Notice of Lodging
(Attachments: # 1 Exhibit 1 - Lim Transcript, # 2 Exhibit 2 -
PX-170 [Redacted])(Moskowitz, Lauren) (Fi ed on
2/9/2023) (Entered: 02/09/2023)

Administrative Motion to Consider Whether Another
Party s Materia Shou d Be Sea ed fi ed by Epic Games, Inc..
(Attachments: # 1 Dec aration of Michae Zaken, #2
Proposed Order, # 3 Exhibit PX-170 [Sea ed])(Moskowitz,
Lauren) (Fi ed on 2/9/2023) (Entered: 02/09/2023)
Statement re 440 Evidentiary Hearing Joint Submission
Regarding February 1, 2023 Minute Order by A phabet
Inc., Goog e Asia Pacific PTE. Limited, Goog e Commerce
Limited, Goog e Ire and Limited, Goog e LLC, Goog e
Payment Corp.. (Pomerantz, G enn) (Fi ed on 2/10/2023)
(Entered: 02/10/2023)

Statement Joint Submission Re: February 1, 2023 Minute
Entry On Expert Testimony by A phabet Inc., Goog e Asia
Pacific PTE. Limited, Goog e Commerce Limited, Goog e
Ire and Limited, Goog e LLC, Goog e Payment Corp.. (Shah,
Suja ) (Fi ed on 2/13/2023) (Entered: 02/13/2023)

NOTICE of Appearance by Jayme L. Weber (Weber, Jayme)
(Fi ed on 2/15/2023) (Entered: 02/15/2023)

ORDER. For Goog es production of additiona chats, see
MDL Dkt. Nos. 440, 451, Goog e must at minimum produce
a chats that have been preserved for Custodians 1
through 383 (as identified in Dkt. No. 429-2) that are: (1)
responsive to any search term the parties have agreed toin
this itigation (as proposed by Goog e in Dkt. No. 451 at 6),
OR (2) responsive to these additiona terms: "sensitive,"
“history off" "history is not off" "history on," "history is on,"
“off the record," or "on the record." To bec ear, for the atter
set of terms, Goog e may not imit its production to on y
those chats that discussed "turning history on or off in
connection with the topics of this case or in connection
with [a] ega ho d, investigation, regu atory proceeding, or
itigation." Dkt. No. 451 at 8. The responsive chats must be
turned over without the additiona imitation of being

responsive to the search terms in this case or being

Source

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Case 1:20-cv-03010-APM Document 574-1 Filed 03/31/23 Page 4 of 4

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Availability # Date Proceeding Text Source
connected toa ega ho d, investigation, regu atory
proceeding, or itigation.Goog e must comp ete the
production of these chats by February 24, 2023, at 5:00
p.m. Ca ifornia time at the atest. This dead inewi not be
extended. Goog e may conduct a responsiveness and/or
privi ege review on y to the extent it can do that and sti
meet this dead ine. To the extent Goog e decides against a
privi ege review, inc uding for any subsets of custodians,

p aintiffs wi agree toa "broad non-waiver agreement

a owing the c awback of any privi eged materia ," as they
have proposed. Dkt. No. 451 at 4. Signed by Judge James
Donato on 2/15/2023. (This is a text-on y entry generated
by the court. There is no document associated with this
entry.) (jd c2, COURT STAFF) (Fi ed on 2/15/2023)
(Entered: 02/15/2023)

O Free 455 02/16/2023 Administrative Motion to Fi e Under Sea fi ed by A phabet
Inc., Goog e Asia Pacific PTE. Limited, Goog e Commerce
Limited, Goog e Ire and Limited, Goog e LLC, Goog e
Payment Corp.. (Attachments: # 1 Dec aration Of Tian Lim,
# 2 Proposed Order)(Chiu, Miche e) (Fi ed on 2/16/2023)
(Entered: 02/16/2023)

456 02/17/2023 ORDER re (452 in 3:21-md-02981-JD) Joint Submission re

Expert Testimony. P aintiffs are directed to provide to
Goog e€ on acoordinated basis their revised ist of experts
and each expert s area of testimony by Apri 7, 2023. See
MDL Dkt. No. 440. Signed by Judge James Donato on
2/17/2023. (This is a text-on y entry generated by the
court. There is no document associated with this entry.)
(jd c2, COURT STAFF) (Fi ed on 2/17/2023) (Entered:
02/17/2023)

O Free 457 02/22/2023 TRANSCRIPT ORDER for proceedings he d on 1/31/2023
before Judge James Donato for Court Reporter Ana Dub.
(rjd, COURT STAFF) (Fi ed on 2/22/2023) (Entered:
02/22/2023)

O On ine 458 02/23/2023 TRANSCRIPT ORDER for proceedings he d on 01/12/2023
before Judge James Donato for Court Reporter Ana Dub.
(rjd, COURT STAFF) (Fi ed on 2/23/2023) (Entered:
02/23/2023)

459 02/27/2023 ORDER. Fo owing the production of additiona chats by

Goog e, see MDL Dkt. No. 454, the parties are directed to
fi e by March 14, 2023, supp ementa briefs of up to 10
pages addressing the effect of the additiona chats onthe
pending chat motion, Dkt. No. 349. P aintiffs may request
an extension of the dead ine if more time is needed to
review Goog es production. No other briefing wi be

accepted un ess ca ed for by the Court. Signed by Judge

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